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                                                                                      Chris Daniel - District Clerk Harris County
                                                                                                        Envelope No. 18821990
                             2017-54046 / Court: 152                                                        By: Lewis John-Miller
                                                                                                       Filed: 8/14/2017 1:37 PM

                                         NO.

J. DOUGLAS SUTTER                                  §                 IN THE DISTRICT COURT
                                                   §
VS.                                                §
                                                   §             JUDICIAL DISTRICT COURT
                                                   §
SAFECO INSURANCE COMPANY                           §                 HARRIS CQITY, TEXAS

        PLAINTIFF'S ORIGINAL PETITION AND REQUEST FOR DISCLOSURES
                                                                             (1   c


TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW, J. Douglas Sutter (hereinafter referred to--Plaintiff" or "Sutter") in the

above entitled and numbered cause, complaining of SAFECO INSURANCE COMPANY and

would show the following:

                                               PARTIES

         1.       Plaintiff, J. Douglas Sutter ("Plaor "Sutter") is an individual residing in Harris

County, Texas.

         2.       Defendant, Safeco Insue Company ("Safeco or "Defendant") is a private

insurance company authorized to d)usiness in and was, at all times material hereto, doing business

in Harris County, Texas. Saf           ay be served with process by serving to its registered agent,
                               ON
Corporation Service Corn          211 East 7th Street, Suite 620, Austin, Texas 78701.

                                       DISCOVERY TRACK

         3.       Pwant to TEx. R. Civ. P. 190. 1, discovery in this action will be conducted under

Discovery Cnifol Plan Level 3.

                                      JURISDICTION/VENUE

         4.       The amount in controversy is in excess of the minimal jurisdictional limits of this

Court. Venue is proper in Harris County, Texas pursuant to § 15.002(a)(1), Tex. Civ. Prac. &


                                                   1
s/SuttervSafeco



                                           EXHIBIT A
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Rem. Code because Harris County is the County in which all or a substantial part of the

contractual matters giving rise to these claims occurred.

                                               FACTS

         5.       Sutter maintaines a residential homeowner's insurance policy with Safeco. When the

roof located on his residence at 445 River Springs Dr. was damaged, Sutter maaëlaim to Safeco,

numbered 9988 1992 6038. Safeco received the claim, accepted the claim n4i*ovided coverage for

the repair of the roof
                                                                      C r
         6.       Safeco initially approved the repairs to the referenesidence located at 445 River

Springs Dr., on July 2, 2016. The deductible of $5,900 was     ti   paid. Thereafter, Sutter obtained

several estimates from roofing contractors in the area. 4irnately, the estimate from AMC TXCI

was approved by Safeco. Thereafter, work began,,,During the construction work in September,

2016, the contractor uncovered damage to t enderlying deck and rafters. These upgrades were

approved and supplemented in the claim b(        eco. Furthermore, Safeco approved the replacement

of the area wherein the underlying dend rafters were damaged. Thereafter, additional, identical
                                    0
damages to the decking and rers were discovered in other areas of the roof Instead of

immediately approving th        i order as it previously had, Safeco balked and did not approve this

additional work. The dcal type of work on other areas of the roof had been previously approved

by Safeco in all repcts. After weeks of waiting for a response, the contractor had no choice but to

seal the roof due the fall rains that were being experienced and to avoid any additional damages to

the insured house as instructed by Safeco in the policy. For example, on December 23, 2016, it was

subsequently confirmed in writing that the roof had been left open and was not sealed during rainy

weather so that the contractor had to seal the roof awaiting the approval of the additional deck and

rafter work even though the identical work had been previously approved by Safeco on another area
                                                  2
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of the roof By October 26, 2016, the final work was completed with the underlying deck and rafter

damage intact and covered with roofing materials.

         7.       Finally, in the latter part of October, 2016, Safeco agreed to perform the additional

work; however, it believed that the proposal provided for same by AMC TXCI was excessive.

Safeco would not locate another contractor for a new estimate. Therefore, Sutter was required to

interview additional contractors and to obtain other estimates for Safeco toçiew and approve.

         8.       In the latter part of December, 2016, Sutter found Beldon Roofing Company

("Beldon") in San Antonio, which agreed to provide a proposal.            January 12, 2017, the list of

additional repairs that had previously been approved by SAX was provided to Beldon. On

February 18, 2017, after an extensive on-site investigatimB'eldon provided its proposal which was

immediately forwarded to Safeco. By March 20, 2q]'7,,the proposal still had not been approved so

that Sutter could get on Beldon's waiting list foJ repair work. Again, on March 28, 2017, Sutter

wrote to Safeco and asked for approval.

         9.       Still, again, on Marc!    , 2017, Sutter advised Safeco that the amount of money

Safeco wanted to pay Beldon in reponse to Beldon's proposal was inadequate and nowhere near the

cost of performing the ob tiat Ska eco had already approved. Sutter also told Safeco that if it runs off

Beldon, then Safeco odhave to locate another, reputable contractor to complete the work that it

had already approve Safeco then agreed that it would again look into Beldon's proposal.

         10.      DIt April 18, 2017, Safeco communicated directly with Beldon's representative,

Albert Peña, and came to an agreement on the amount of money to be paid on the proposal. On May

15, 2017, Mr. Peña revised the estimate per Safeco' s request in the form of a Change Order. On May

17, 2017, at 10:27 a.m., Safeco wrote and stated that it is in agreement with the revised estimate. On

that same day, Sutter was advised that the contract with the changes would be provided to him. On

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May 22, 2017, Sutter requested final approval from Safeco that Safeco had accepted all of the

roofing repairs and replacement and the amounts solely for its account. On May 30, 2017, at 10:21

a.m., Safeco approved Beldon's proposal and confirmed that Safeco is paying for "ALL of it."

Safeco then approved it and Sutter signed the proposal with Beldon. Therefore, agreements exist

between (a) Safeco and Sutter, and (b) Sutter and Beldon, the latter agreement being based on

Safeco' s representations and approval and Sutter's reasonable reliance thei.

         11.      On May 31, 2017, at 2:07 p.m., in reliance upon $afeco's representations and

agreement that it was to pay "ALL of'Beldon's invoices, Sutter reèsted that Safeco pay the one-

third deposit required by Beldon. On June 1, 2017, Mr. Peñahied that he was surprised that given

Safeco' s approval of the proposal and confirmation andA}1t all would be paid by Safeco, that Safeco

had not yet provided the initial, deposit check.

         12.      For the first time, on June 2, 2d       Safeco called Sutter and told him that a certain

amount of Beldon's bill would have to bep by Sutter. Sutter again confirmed that Safeco had

already approved Beldon's proposal an 4that the total amount of Beldon's proposal is for Safeco's

account. On that same day, Suttermade it clear that the issue of he paying additional money had

never been raised with Sutter           time prior to our June 2, 2017, telephone conversation.

         13.      Based iithe forgoing, Safeco has breached its agreement with Sutter by not paying

the one-third depohat is due to Beldon and by attempting to take the position that Sutter will have

to pay an additial $5,748.61 for the work approved by Safeco.

         14.      On June 7, 2017, at 3:03 p.m., Sutter advised that this claim "is being reviewed. . . so

[Safeco] can make a final determination." However a "final determination" had already been made.

         15.      Thereafter, Safeco confirmed that it had previously agreed with Sutter to do all of the

repairs at issue. Notwithstanding, Safeco has again breached its agreement even though it confirmed

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the existence of that agreement and has now refused to make the required payments under the policy

and as promised in the agreement between the two parties.

                    CAUSES OF ACTION/DAMAGES/ATTORNEY'S FEES

         16.      Paragraphs 1 through 15 are reiterated herein for all intents and purposes as if set

forth verbatim.

         17.      The acts and omissions on the part of the Defendant amourJ breach of contract,

violations of the Texas Deceptive-Trade Practices Acts, §17.46, et seq.. (Lex. Bus. & Comm. Code)
                                                                    C r
("DTPA") and the applicable provisions of the Texas Insurance (74

         18.      Under the DTPA, the following acts and omi         n's have occurred:

         a.       failure to disclose information concerntthe services and goods provided which
                  were known at the time of the transactinNà1d that such undisclosed information was
                  intended to induce our participatioi1the transaction which would not have been
                  entered into had the information       disclosed;

         b.       unconscionable acts and courof action taking advantage of our lack of knowledge,
                  experience, ability and cap cW in the transaction at issue;
                                              (H

         C.       false, misleading andçeptive business practices;

         d.       misrepresentationfThe quality of goods and services provided;

         e.       false represent    ns as to the quality and characteristics of the goods and services
                  provided

         f.       reprsttions that agreements conferred or involved rights, remedies or obligations
                  that Ip'y did not have or involve;

         g.       nrepresentation of work or services and/or goods provided and/or performed;

         h.       failure to disclose material facts; and,

                  the use of false, misleading and deceptive acts and practices to induce us to enter the
                  transactions at issue.




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         19.      The Plaintiff provided to the Defendant the required sixty (60) day notice period to

resolve the claim or to be subject to actual damages, trebled, together with attorney's fees and

expenses. The Defendant took no action within the sixty (60) day period available to it.

         20.      Pursuant to the DTPA, §37.001, et seq., Tex. Civ. Prac. Rem. Code, the Defendant

was also placed on thirty (30) day notice of Sutter's claim for the payment of attorney's fees and

expenses. The Defendant did not avail itself of the thirty (30) day period thsolve the case.

         21.      As a proximate result of the Defendant's acts and cmissions, Plaintiff has been

damaged in the amount of at least $20,848.62, trebled to $62,54

         22.      Pursuant to §§ 37.001, et seq., Tex. Civ. Prac?LRem. Code, Sutter is entitled to the

award of reasonable and necessary attorney's fees in th%i1ibunt of at least $15,000.

                                   CONDITIONS PEDENT

         23.      Paragraphs 1 through 22 are re!d herein for all intents and purposes as if set

forth verbatim.

         24.      All conditions precedcito the Plaintiff's right to recover damages and to assert all

causes of action noted herein ancIthich the Plaintiff is entitled to bring have been met and fully

satisfied.


                                  REQUEST FOR DISCLOSURE

         25.      UiftiTexas Rule of Civil Procedure 194, Plaintiff requests that Defendant disclose,

within 50 days of service of this request, the information or material described in Rule 194.2(a) - (1).


         WHEREFORE, PREMISES CONSIDERED, Plaintiff J. DOUGLAS SUTTER prays that

upon final hearing hereof that it have judgment of and against Defendant for actual damages for the

declaration requested herein, attorney's fees, both pre-judgment and post-judgment interest at the

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highest rates allowed by law, taxable costs, and such other and further relief to which he may show

himself justly entitled.

                                             Respectfully submitted,


                                             By:     /s/i Douglas Sutter
                                                     J. DOUGLAS SUTTER, 1Se
                                                     3050 Post Oak Blvd.,j  r e~/200
                                                     Houston, Texas 7705
                                                     (713) 595-6000 Tphone
                                                                       -



                                                     (713) 595-6001-- Facsimile
                                                     E-Mail: dsutter(sklawyers. com

                                        JURY DEMAND

       Plaintiff hereby demands a trial by jury on all issues iii
                                                              ' the referenced cause of action.
The jury fee is being paid simultaneously with the filing the Original Petition.

                                             /5/i Jlas Sutter
                                              J.9GLAS SUTTER


                                            &




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                                                                                                                        HZC / ALL
                                                                                                     Transmittal Number: 17047076
Notice of Service of Process                                                                            Date Processed: 08/22/2017

Primary Contact:           Arlene Smith
                           Liberty Mutual Insurance Company
                           175 Berkeley Street
                           Boston, MA 02116

Entity:                                       Safeco Insurance Company Of America
                                              Entity ID Number 2781189
Entity Served:                                Safeco Insurance Company
Title of Action:                              J. Douglas Sutter vs. Safeco Insurance Company
Document(s) Type:                             Petition
Nature of Action:                             Contract
Court/Agency:                                 Harris County District Court, Texas
Case/Reference No:                            2017-54046
Jurisdiction Served:                          Texas
Date Served on CSC:                           08/22/2017
Answer or Appearance Due:                     Other/NA
Originally Served On:                         Liberty Mutual on date unknown
How Served:                                   Client Direct
Sender Information:                           J. Douglas Sutter
                                              713-595-6000

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constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
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